[Cite as State v. Ely, 2024-Ohio-3152.]



                 IN THE COURT OF APPEALS OF OHIO
                            ELEVENTH APPELLATE DISTRICT
                                ASHTABULA COUNTY

STATE OF OHIO,                                        CASE NOS. 2024-A-0032
CITY OF CONNEAUT,                                               2024-A-0033
                                                                2024-A-0034
                 Plaintiff-Appellee,                            2024-A-0036

        - vs -
                                                      Criminal Appeals from the
DAVID ELY,                                            Conneaut Municipal Court

                 Defendant-Appellant.
                                                      Trial Court Nos. 2023 CRB 00267 A
                                                                       2023 CRB 00267 B
                                                                       2023 CRB 00267 C
                                                                       2023 CRB 00267 D



                                               OPINION

                                          Decided: August 19, 2024
                                            Judgment: Affirmed


John D. Lewis, Law Director, City of Conneaut, 294 Main Street, Conneaut, OH 44030
(For Plaintiff-Appellee).

Margaret Brunarski, Ashtabula County Public Defender, and Michael J. Ledenko,
Assistant Public Defender, 22 East Jefferson Street, Jefferson, OH 44047 (For
Defendant-Appellant).


ROBERT J. PATTON, J.

        {¶1}     Defendant-appellant, David Ely (“Ely”), appeals the judgment of the

Conneaut Municipal Court after a jury found Ely guilty of both Assault and Obstructing

Official Business. For the following reasons, we affirm.
       {¶2}   On September 13, 2023, the City of Conneaut filed a complaint in the

Conneaut Municipal Court charging Ely with Assault (Case No. 23CRB267A), Cruelty to

Companion Animals (Case No. 23CRB267B), Obstructing Official Business (Case No.

23CRB267C), and Aggravated Disorderly Conduct (Case No. 23CRB267D).

       {¶3}   On September 14, 2023, Ely entered a plea of not guilty. On February 22,

2024, the Conneaut Municipal Court held a jury trial. At trial, four witnesses testified for

the City of Conneaut including Tiffany Strickler (“Strickler”), Robert Coffelt (“Coffelt”),

Officer Collin Fisher (“Officer Fisher”), and Detective Jesse Lardi (“Detective Lardi”). Two

witnesses testified on behalf of Ely including Tonya Merrill (“Merrill”) and Ely himself. The

following testimony was presented at trial:

       {¶4}   These charges arise from an incident which occurred on September 12,

2023. Strickler was in her home at 709 Madison Street in Conneaut. It was Strickler’s

birthday. Guests in Strickler’s home informed Strickler that her stepsister, Merrill, walked

past her home. Merrill had in fact walked past Strickler’s home with Ely. Merrill and Ely

were going to Ely’s father’s home at 727 Madison Street, five houses away from Strickler’s

home. Strickler then left her home, walked down off her porch, and approached the public

sidewalk to address Merrill and Ely for not stopping by on her birthday.

       {¶5}   Strickler observed Ely further up the sidewalk by Coffelt’s property. There

was conflicting testimony regarding what Ely was doing. Strickler witnessed Ely first

stomp at Coffelt’s dog, then kick the dog. Both Strickler and Coffelt heard the dog make

an audible “yelp.” Ely stated, however, that the dog barked at and tried to attack him, and

that he did not kick the dog.



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Case Nos. 2024-A-0032, 2024-A-0033, 2024-A-0034, 2024-A-0036
       {¶6}   Strickler then yelled obscenities at both Ely and Merrill initially

characterizing them as playful because Merrill had not stopped to wish her a happy

birthday. The verbal altercation then appeared to escalate. At trial, Strickler stated she

called Ely “a drug addict” and Ely called her a “predator,” a “meth whore,” and a “fat bitch.”

(T.p. 108, 199). Ely stated Strickler was “arguing and screaming” with him, and that there

were “words exchanged” between the two of them. (T.p. 209-210).

       {¶7}   Witness testimony varied as to how Strickler continued down the sidewalk.

Strickler stated that she walked closer to Merrill and Ely to see what was going on while

still yelling and arguing. Merrill and Ely said that Strickler ran towards them. At that point,

Ely walked off on his own toward his father’s house, leaving Merrill on the sidewalk.

       {¶8}   Ely walked to the side of his father’s home, picked up a bottle of beer, and

emptied its contents. Ely then walked to the end of his father’s driveway and threw the

empty bottle. Strickler, Coffelt, Ely, and Merrill each told a different story as to how Ely

threw the bottle. Strickler said that Ely threw the bottle at her and missed her narrowly,

causing her to duck. Coffelt stated that Ely threw the bottle towards Strickler and Strickler

“just stood there.” Ely said he threw the bottle at the ground to make a loud sound to scare

Strickler. Merrill claimed that Ely broke the bottle in his hand but did not throw it.

       {¶9}   Much of the witness testimony differed concerning how far away Strickler

was when Ely threw the bottle. Strickler claimed she was 30 to 40 feet away. Coffelt said

Strickler was standing near his property about 20 to 25 feet from Ely. Ely and Merrill

claimed she was 30 feet away. Regardless of the distance, Coffelt and Ely agree the

bottle broke near Coffelt’s property.



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Case Nos. 2024-A-0032, 2024-A-0033, 2024-A-0034, 2024-A-0036
       {¶10} After the bottle broke, Strickler and Coffelt returned to their respective

homes to call the police. Officer Fisher and Detective Lardi arrived on the scene, spoke

to Strickler and Coffelt, then decided to arrest Ely. Officer Fisher and Detective Lardi

spoke with Ely’s father at his home. The witnesses disagree as to Ely’s actions when

Officer Fisher and Detective Lardi arrived. Ely stated he was pacing in the driveway,

though Officer Fisher and Detective Lardi claimed they did not immediately see him. Ely

then made his way around the side of the house and down the driveway into Detective

Lardi’s view. Detective Lardi identified him, ordered him to stop, and informed him he was

under arrest.

       {¶11} Detective Lardi and Officer Fisher stated that next, Ely began to jog towards

the back of the house yelling for his father to let him in. They also stated that Detective

Lardi unholstered his taser and ordered Ely to stop again. Both testified that Ely moved

about 20 feet before they could grab Ely’s arms and place him in handcuffs. Ely testified

that he submitted to the arrest without incident and sought only to give the officers his

side of the story.

       {¶12} At trial, the jury found Ely guilty of Assault, a first-degree misdemeanor, in

violation of the Codified Ordinances of the City of Conneaut 537.03(a), and Obstructing

Official Business, a second-degree misdemeanor, in violation of the Codified Ordinances

of the City of Conneaut 525.07(a). The jury found Ely not guilty of the Cruelty to Animals

and Aggravated Disorderly Conduct charges.

       {¶13} Ely was sentenced to 180 days in jail with 13 days credited and 167 days

suspended, on the Assault charge. The court placed Ely on supervised probation for 5

years and ordered him to submit to comprehensive diagnostic assessment for alcohol,

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Case Nos. 2024-A-0032, 2024-A-0033, 2024-A-0034, 2024-A-0036
substance abuse, anger management and mental health treatment within 15 days. Also,

regarding the Assault count, the court ordered Ely not to purchase, possess or consume

any alcohol, drug of abuse or pseudoephedrine product for 5 years. With respect to the

Obstructing Official Business count, the trial court sentenced Ely to 90 days in jail with 13

days credited and 77 days suspended regarding the Obstructing Official Business count.

The trial court also placed Ely on 5 years of supervised probation, ordered him to submit

to the same diagnostic testing as ordered for the Assault conviction, and directed Ely to

not use drugs or alcohol for 5 years. The judgment entry indicates that these sentences

would run consecutively.

       {¶14} Ely timely appeals and asserts one assignment of error.

       {¶15} [1.] “Is David Ely’s conviction for Assault and Obstructing Official Business

against the manifest weight of the evidence?”

                            Manifest Weight on the Assault Count

       {¶16} “[W]eight of the evidence addresses the evidence’s effect of inducing

belief.” State v. Wilson, 2007-Ohio-2202, ¶ 25, citing State v. Thompkins, 78 Ohio St.3d

380, 386-387 (1997). An appellate court must consider all the evidence in the record, the

reasonable inferences, the credibility of the witnesses, and whether, “in resolving conflicts

in the evidence, the jury clearly lost its way and created such a manifest miscarriage of

justice that the conviction must be reversed and a new trial ordered.” Thompkins at 387,

quoting State v. Martin, 20 Ohio App.3d 172, 175 (1st Dist. 1983). “When a court of

appeals reverses a judgement of a trial court on the basis that the verdict is against the

weight of the evidence, the appellate court sits as the ‘thirteenth juror’ and disagrees with



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Case Nos. 2024-A-0032, 2024-A-0033, 2024-A-0034, 2024-A-0036
the factfinder’s resolution of the conflicting testimony.” Thompkins at 387, quoting Tibbs

v. Florida, 457 U.S. 31, 42 (1982).

       {¶17} Despite conflicting testimony from Merrill and Ely about whether Ely threw

the bottle, the jury as fact finder was free to believe all, some, or none of the testimony

presented. State v. Fetty, 2012-Ohio-6127, at ¶ 58 (11th Dist.). Given the testimony,

Strickler and Ely engaged in a verbal altercation until the bottle broke. Strickler

characterized her initial statements to Ely as playful, but Strickler, Coffelt, Merrill and Ely

testified that a verbal argument ensued throughout this incident. Strickler, Coffelt, and

Ely’s version of the events taken together demonstrate that Ely threw the bottle at

Strickler. Ely testified he threw the bottle to scare Strickler but that he knew not to throw

it at her. Coffelt stated Strickler was standing in front of his property when the incident

occurred. Strickler stated she ducked out of the way when Ely threw the bottle.

       {¶18} Considering the collective testimony from Strickler, Coffelt, and Ely himself,

we cannot say the jury clearly lost its way to create a manifest miscarriage of justice.

            Manifest Weight on the Obstructing Official Business Count

       {¶19} Here, testimony from Officer Fisher and Detective Lardi highlights Ely’s

effort to delay his arrest. Both Officer Fisher and Detective Lardi testified that Detective

Lardi informed Ely he was under arrest and ordered him to stop in the driveway twice.

Both officers further stated that Ely did not stop but instead ran to the back door while

asking his father to let him in. The only testimony to the contrary came from Ely himself

who claimed he tried to tell the officers his version of the story before submitting to the

arrest without incident. Again, free to believe some, all, or none of the testimony

presented, the jury did not clearly lose its way to create a manifest miscarriage of justice.

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Case Nos. 2024-A-0032, 2024-A-0033, 2024-A-0034, 2024-A-0036
      {¶20} Therefore, the appellant’s convictions for Assault and Obstructing Official

Business are consistent with the weight of the evidence.

      {¶21} Ely’s sole assignment of error is without merit.

      {¶22} For the foregoing reasons, we affirm the judgment of the Conneaut

Municipal Court.

MATT LYNCH, J.,

JOHN J. EKLUND, J.,

concur.




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